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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


  BABY DOE, et al.,                                     )
                                                        )
                 Plaintiffs,                            )
                                                        )
  v.                                                    )       Case No. 3:22-cv-49-NKM
                                                        )
  JOSHUA MAST, et al.,                                  )
                                                        )
                 Defendants,                            )
                                                        )
  and                                                   )
                                                        )
  UNITED STATES SECRETARY OF                            )
  STATE ANTONY BLINKEN, et al.,                         )
                                                        )
                 Nominal Defendants.                    )
                                                        )

       DEFENDANTS JOSHUA AND STEPHANIE MAST’S MEMORANDUM IN
   OPPOSITION TO FEDERAL DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

         The Federal Defendants’ sole objection to discovery is that the parties “assert no claims

  against, and seek no relief from, [them as] Nominal Defendants.” Mot. 1. The Federal Rules of

  Civil Procedure, however, do not provide for “Nominal Defendants” who participate in the case

  but are insulated from discovery. Instead, the Rules make clear that failure to state a claim against

  a named defendant is a defense that may be raised in a responsive pleading or by motion. See Fed.

  R. Civ. P. 12(b)(6). Defendants Blinken and Austin are thus entitled to be dismissed. But they are

  not entitled to continue on as parties voluntarily and shirk the responsibilities of party discovery.
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  The motion for protective order should be denied, or in the alternative, the Court should sua sponte

  dismiss the Federal Defendants from the case. 1

  I.      The Remedy for Failure to State a Claim Is Dismissal, Not a Protective Order.

         The Federal Defendants should have moved to dismiss the claims against, not for a

  protective order. Civil Rule 12(b)(6) provides the appropriate remedy when a plaintiff names a

  defendant but fails to state a claim against him: a motion to dismiss. The Federal Defendants had

  that option available to them but chose to forgo it; instead, they filed an answer. See ECF 131. The

  Federal Defendants therefore remain parties to the case, and Defendant Richard Mast appropriately

  served them with party discovery. Compare Fed. R. Civ. P. 33 (Interrogatories to Parties), and

  Fed. R. Civ. P. 34(a) (“A party may serve on any other party a request [for documents] within the

  scope of Rule 26(b) . . . .” (emphasis added)), with Fed. R. Civ. P. 34(c) (“As provided in Rule 45,

  a nonparty may be compelled to produce documents and tangible things or to permit an

  inspection.” (emphasis added)). The Civil Rules draw a clear line between party discovery and

  nonparty discovery; they do not distinguish between “Nominal Defendants” and “Real

  Defendants.”

         None of the cases cited by the Federal Defendants establishes otherwise. They rely

  primarily on cases addressing the extent to which sovereign immunity protects the United States

  from substantive liability for claims absent an affirmative waiver. See Lane v. Pena, 518 U.S. 187

  (1996); Nat’l Veterans Legal Servs. Program v. United States Dep’t of Def., 990 F.3d 834 (4th Cir.

  2021); Robinson v. United States Department of Education, 917 F.3d 799 (4th Cir. 2019); Welch



  1
   Defendants Joshua and Stephanie Mast have not yet served discovery on the Federal Defendants,
  but the requested protective order would restrict them from doing so. So long as the Federal
  Defendants remain formal parties to this litigation, the Masts have an interest in maintaining the
  ability to serve party discovery on them as they may possess information relevant to the Masts’
  defenses.
                                                    2
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  v. United States, 409 F.3d 646 (4th Cir. 2005). But the Federal Defendants are not here seeking

  substantive dismissal of claims against them—even if they should be. They also cite cases holding

  that the qualified immunity enjoyed by executive officials protects against the “burdens of suit,”

  such that denial of immunity is immediately appealable. See Mot. 7 (quoting Pearson v. Callahan,

  555 U.S. 223, 237 (2009); citing Carswell v. Camp, 54 F.4th 307 (5th Cir. 2022)). But that issue

  is even further afield because there is no issue of appellate jurisdiction, and the Federal Defendants

  have not sought, much less been denied, dismissal from the action.

         They cite one case actually about discovery—Bulger v. Hurwitz, 62 F.4th 127 (4th Cir.

  2023)—but it is entirely inapposite. There, the Fourth Circuit affirmed the denial of jurisdictional

  discovery against the United States not because sovereign immunity barred it but instead because

  “discovery would serve no proper purpose . . . [e]ven accepting all of [the plaintiff’s] allegations

  . . . as true” such that “nothing would be gained by the discovery Appellant seeks.” Id. at 144. In

  fact, the Court of Appeals specifically distinguished prior cases in which it had remanded for

  discovery against the United States before determining subject matter jurisdiction. See id. at 145

  (citing Rich v. United States, 811 F.3d 140 (4th Cir. 2015)). 2 Bulger therefore reinforces that,

  where a federal official is a party, he may be subjected to relevant party discovery.

         The extended discussion of the Administrative Procedure Act, see Mot. 8–10, is a red

  herring. No party asserts an APA claim against the United States. Indeed, as Federal Defendants



  2
    To the extent the Fifth Circuit discussed the burdens of discovery in Carswell, that discussion
  came first in the context of addressing whether the district court’s order denying a motion to
  dismiss based on qualified immunity was immediately appealable as a collateral order. See 54
  F.4th at 310–11. The Court then went on to address the propriety of earlier discovery. It held that,
  “[w]here public officials assert qualified immunity in a motion to dismiss, a district court must
  rule on the motion. It may not permit discovery against the immunity-asserting defendants before
  it rules on their defense.” Id. at 311. That only confirms the point made here: that the Federal
  Defendants’ assertion of sovereign immunity should be addressed on the merits, not through a
  selective request for a protective order.
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  themselves point out, no party is presently asserting any claim or seeking any relief against the

  Federal Defendants, including under the APA. The logical consequence is not that the Court should

  enter a novel protective order, but rather that the Federal Defendants should be dismissed from the

  case, whether on their own motion or sua sponte. 3

         The Federal Defendants also cite a series of cases about nonparty discovery against the

  United States under Rule 45. See Mot. 10–11 (citing United States ex rel. Touhy v. Ragen, 340

  U.S. 462 (1951); United States v. Soriano-Jarquin, 492 F.3d 495 (4th Cir. 2007); COMSAT Corp.

  v. NSF, 190 F.3d 269, 277 (4th Cir. 1999); Donatoni v. Dep’t of Homeland Sec., 184 F. Supp. 3d

  285, 286 (E.D. Va. 2016); Texas v. Holder, No. 12-cv-128, 2012 WL 13070110, at *3 (D.D.C.

  June 8, 2012)). But those cases are inapposite precisely because the Federal Defendants are named

  parties and have made the strategic decision not to seek dismissal. Cf. Mot. 10 (describing the

  Touhy regulations “that govern whether and under what circumstances [federal agencies] will

  release agency information for use in litigation where they are not subject to discovery as parties”)

  (emphasis added). If and when the Federal Defendants are dismissed from the case, those third-

  party discovery rules may come into play. But until then, the Federal Defendants remain parties

  subject to party discovery.

  II.     So Long As the Federal Defendants Remain Parties and Do Not Seek Dismissal, They
          Are Not Entitled to a Protective Order to Avoid Party Discovery.

         The Federal Defendants have been named as party defendants and have chosen, at least for

  now, not to seek dismissal from the case. That may be their prerogative—though, again, the

  Federal Rules do not establish any role for a “nominal” party to participate selectively as the



  3
    To the extent the Court concludes that it needs some party’s motion to dismiss the Federal
  Defendants, the Masts respectfully ask that the Court construe this opposition either as a motion
  to dismiss the Federal Defendants from the case under Rule 12(b)(6) or 12(c), or as a motion to
  strike the Federal Defendants from the complaint under Rule 12(f).
                                                   4
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  Federal Defendants attempt here. But there is no basis in law or common sense to allow the Federal

  Defendants to forgo available defenses and remain parties for strategic reasons—such as briefing

  the alleged interest of the United States in the case, see Mot. 4–5 & n.1—while simultaneously

  shirking the responsibilities of party discovery under Rules 33 and 34.

         To the contrary, the United States and its officials are routinely subject to ordinary party

  discovery when they are parties to the case. Indeed, the more frequently litigated question is

  whether party discovery against the United States is limited to the particular federal agencies

  involved or extends to all federal custodians. See, e.g., USA v. Xlear Inc., No. 2:21-CV-640 RJS

  DBP, 2022 WL 5246717, at *2 (D. Utah Oct. 6, 2022) (holding that the “approach proper under

  relevant case law” is to allow party discovery against the federal agency involved in the case but

  to use nonparty discovery under Rule 45 for other unnamed federal agencies); North Dakota v.

  United States, No. 1:19-CV-150, 2021 WL 6278456, at *4 (D.N.D. Mar. 24, 2021) (applying “the

  principle that the United States’ obligation to respond to discovery requests is not limited to an

  agency named in the action”); United States v. UBS Sec. LLC, No. 118CV6369RPKPK, 2020 WL

  7062789, at *3–7 (E.D.N.Y. Nov. 30, 2020); Deane v. Dynasplint Sys., Inc., No. CIV.A. 10-2085,

  2015 WL 1638022, at *4–5 (E.D. La. Apr. 13, 2015); Trane Co. v. Klutznick, 87 F.R.D. 473, 476–

  78 (W.D. Wis. 1980).

         The Court would strike entirely new ground, as far as the Masts are aware, in issuing a

  protective order to shield federal officials from discovery as named parties when they have not

  sought dismissal from the case based on immunity. 4 The Federal Defendants certainly cite no



  4
    A distinct issue arises in APA cases where federal agency or official defendants argue that
  discovery is improper because review should be limited to the administrative record compiled by
  the agency. Cf. Mot. 9–10 (citing Dep’t of Comm. v. New York, 139 S. Ct. 2551 (2019); Fort
  Sumter Tours, Inc. v. Babbitt, 66 F.3d 1324, 1335–36 (4th Cir. 1995)). But as noted above, this is
  not an APA case. And even in that context, courts will allow discovery over the Federal
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  specific examples. Rather, the cases they rely on only further reinforce that the typical and

  appropriate course would be for the Federal Defendants to seek dismissal from the case altogether

  under Rule 12(b)(6)—or, now that they have answered, under Rule 12(c).

                                          CONCLUSION

          The Court should deny the motion for protective order and permit ordinary party discovery

  against the Federal Defendants so long as they remain parties that have not sought dismissal based

  on immunity. Alternatively, the Court should dismiss the Federal Defendants as parties from the

  case.


          Dated: May 1, 2023                   Respectfully submitted,

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  Government’s objection in appropriate circumstances. See, e.g., Cherokee Nation v. United States
  Dep’t of the Interior, 531 F. Supp. 3d 87, 97 (D.D.C. 2021); USA Grp. Loan Servs., Inc. v. Riley,
  82 F.3d 708, 714 (7th Cir. 1996); State v. U.S. Immigr. & Customs Enf’t, 438 F. Supp. 3d 216, 218
  (S.D.N.Y. 2020); Manker v. Spencer, No. 3:18-CV-372 (CSH), 2019 WL 5846828, at *20 (D.
  Conn. Nov. 7, 2019); Vidal v. Duke, No. 16CV4756NGGJO, 2017 WL 8773110, at *2–3
  (E.D.N.Y. Oct. 17, 2017).
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